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                              UNITED STATES DISTRICT COURT
                          DISTRICT OF THE DISTRICT OF COLUMBIA


 MONTE A. ROSE, JR., et al.,                     )
                                                 )
                Plaintiffs,                      )
                                                 )
         v.                                      )
                                                 )     No. 1:19-cv-02848-JEB
 XAVIER BECERRA, et al.,                         )
                                                 )
                Defendants.                      )


                                   JOINT STATUS REPORT

       Pursuant to the Court’s minute order on August 5, 2024, the parties submit this joint status

report. The parties have discussed the contours of a negotiated stay, and while it appears the parties

may be able to reach agreement, additional time is required to finally resolve the matter due to the

complexity of the issues and the number of stakeholders involved. The parties therefore ask that

the Court accept this joint status report and permit the submission of an updated joint status report

on or before August 15, 2024.


Dated: August 8, 2024                                 Respectfully submitted,

 /s/ Jane Perkins                                     THEODORE E. ROKITA
 Jane Perkins                                         Indiana Attorney General
 Catherine McKee
 National Health Law Program                          By: /s/ James A. Barta
 1512 E. Franklin Street, Suite 110                   James A. Barta (DC Bar 1032613)
 Chapel Hill, NC 27514                                Solicitor General
 (919) 968-6308
 perkins@healthlaw.org                                Office of the Indiana Attorney General
                                                      302 W. Washington St.
 Counsel for Plaintiffs                               Indiana Government Center South, 5th Floor
                                                      Indianapolis, IN 46204-2770
                                                      Phone: (317) 232-0709
                                                      Fax: (317) 232-7979
                                                      Email: James.Barta@atg.in.gov



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                                  Caroline M. Brown (DC Bar 438342)
                                  Brown & Peisch PLLC
                                  1225 19th St. NW, Suite 700
                                  Washington, D.C. 20036
                                  Phone: (202) 499-4258
                                  Email: cbrown@brownandpeisch.com

                                  Counsel for Intervenor-Defendant
                                  Indiana Family and Social Services Admin-
                                  istration


                                  BRIAN M. BOYNTON
                                  Principal Deputy Assistant Attorney General

                                  MICHELLE BENNETT
                                  Assistant Branch Director

                                  /s/ Jacob S. Siler
                                  Jacob S. Siler (D.C. Bar No. 1003383)
                                  Trial Attorney
                                  United States Department of Justice
                                  Civil Division, Federal Programs Branch
                                  1100 L Street, N.W.
                                  Washington, DC 20005
                                  Tel: (202) 353-4556
                                  Email: Jacob.S.Siler@usdoj.gov

                                  Counsel for Federal Defendants




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